                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
SCOTT MACKEY, on behalf of himself and
all others similarly situated,
                                                    Case No: 1:22-cv-00342
                               Plaintiff,
                                                    Hon. Virginia M. Kendall
v.

PEOPLECONNECT, INC., a Delaware
Corporation,
                               Defendant.


                           MOTION FOR DEFAULT JUDGMENT

       Defendant PeopleConnect failed to timely respond to Plaintiff’s Complaint.

PeopleConnect’s deadline to answer or otherwise respond was March 22, 2022. Dkt. No. 5.

Although Plaintiff repeatedly put PeopleConnect on notice of its failure to answer, 1 PeopleConnect

has still not filed an answer or otherwise responded more than three weeks later.

       Therefore, Plaintiff respectfully moves this Court to: (1) enter default judgment in favor of

Plaintiff Scott Mackey under Fed. R. Civ. P. 55; and (2) enter an order allowing Plaintiff to proceed

immediately with class certification discovery. The Court should defer entry of final judgment

under Fed. R. Civ. P. 54(b) until the claims of absent Class members have been resolved.

       In support of this motion, Plaintiff respectfully provides the following memorandum:




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  Plaintiff informed PeopleConnect that its failure to answer could result in default judgment on
three separate occasions: (1) in Plaintiff’s Opposition to PeopleConnect’s Motion to Consolidate
and Stay Proceedings, which Plaintiff filed on March 23 (Dkt. No. 23); (2) in Plaintiff’s Sur-
Reply, which Plaintiff filed on April 5 (Dkt. No. 24-1); and (3) during the Status Conference
held before this Court on April 6. See Dkt. No. 25.
MEMORANDUM OF LAW

       I.      Default Judgment Should Be Entered for the Plaintiff.

       Under Fed. R. Civ. P. 55, “[w]hen a party against whom a judgment for affirmative relief

is sought has failed to plead or otherwise defend . . . the clerk must enter the party’s default.” Here,

it is undisputed that PeopleConnect failed to timely answer or otherwise respond to the Complaint.

Accordingly, the Court should enter default judgment in favor of Plaintiff Scott Mackey.

       The requirement to timely answer or otherwise respond is firmly established in the Federal

Rules of Civil Procedure. The clear consequence of failing to answer or otherwise respond is

default. The Seventh Circuit has endorsed the entry of default judgments when a party fails to

answer or respond:

       For a long time courts were reluctant to enter default judgments . . . Those times
       are gone. . . [D]istrict judges have become more aggressive in using their ultimate
       weapon to promote the efficient conduct of litigation. More power to them.
       Drawnout litigation frustrates rather than promotes justice. Judges stretched thin by
       the flux of suits must do more with fewer hours per case. That means more reliance
       on the timetables. . . [The defendant] ignored these timetables . . . He now pays the
       price.

Metropolitan Life Ins. v. Estate of Cammon, 929 F.2d 1220, 1224 (7th Cir. 1991) (internal citation

omitted); see also Matter of State Exchange Finance Co., 896 F.2d 1104, 1106 (7th Cir. 1990)

(affirming entry of default when sophisticated defendant “allowed the deadline for filing his

answer to pass”); In the Matter of Plunkett, 82 F.3d 738, 742 (7th Cir. 1996) (“[m]issing a filing

deadline because of slumber is fatal.”).

       A court should grant default judgment unless the defendant can show its failure to respond

was “due to excusable neglect.” See Oku v. Oyster Gaston5, LLC, No. 19-cv-7673, 2020 WL

5763644, at *1 (N.D. Ill. Sep. 28, 2020) (Kendall, J.). PeopleConnect cannot meet this standard.

The only “excuse” PeopleConnect offers is that it requested an “abeyance” on its time to respond

to the Complaint. See Dkt. No. 17, at *4 (arguing that its failure to respond should have no


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consequences because, in a memorandum filed with the Court on March 3, “PeopleConnect

expressly requested that its time to respond to the Complaint be held in abeyance”). 2 This Court

did not grant the requested abeyance. Far from excusing its neglect, that PeopleConnect requested

an abeyance demonstrates that PeopleConnect knew the deadline was approaching, and

nevertheless failed to answer or respond. As the Seventh Circuit observed in Plunkett,

“inattentiveness to the litigation is not excusable.” 82 F.3d at 742.

        In Oku, this Court denied the defendants’ motion to vacate a default judgment. 2020 WL

5763644, at *2. The defendants argued “their failure to answer the suit was due to excusable

neglect since they had been engaging in good faith settlement negotiations with Plaintiff and they

were mistaken about” whether they needed to file an answer. Id., at *1. This Court rejected

defendants’ argument, holding that “this is not a good cause for default.” Id. As the Court reasoned,

that defendants “were in communication” with the plaintiffs rendered the defendants’ “failure to

answer the lawsuit even more extreme since they should have known the Plaintiffs were taking

this lawsuit seriously.” Id., at *2.

        Here, as in Oku, PeopleConnect was actively communicating with Plaintiff’s counsel when

it failed to answer Plaintiff’s lawsuit. It knew Plaintiff “w[as] taking this lawsuit seriously.” See

id. Further, PeopleConnect’s request for an abeyance demonstrates it knew the Court’s deadline

was approaching but nevertheless failed to comply. Following this Court’s reasoning in Oku,




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  PeopleConnect did not cite any law in support of its request for an abeyance, which appears
only in the “Conclusion” section of a memorandum devoted entirely to a request for unrelated
relief. See Dkt. No. 14, at *10 (Defendant’s Memorandum of Law in Support of its Motion to
Consolidate and Stay Proceedings).


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PeopleConnect’s failure to timely respond to the Complaint is not “excusable.” Plaintiff

respectfully requests the same relief this Court granted in Oku: entry of default judgment.

        In accordance with the relief Plaintiff sought on his own behalf in the Complaint, see Dkt.

No. 1 ¶ 87, Plaintiff respectfully requests the Court grant the following relief in its order of default:

        (1)     An award of statutory damages under the Illinois statutory right of publicity in the

                amount of $1,000 for each photograph of Mr. Mackey that appears on the

                Classmates.com website, see 765 ILCS 1075/40;

        (2)     A declaration that PeopleConnect’s use of Mr. Mackey’s name and likeness

                constitutes a willful misappropriation of his name, likeness, photographs, images,

                and other personal information and infringes his rights in violation of Illinois law;

        (3)     An injunction prohibiting PeopleConnect from using Mr. Mackey’s name,

                photograph, and likeness; and

        (4)     An award of Plaintiff’s reasonable attorneys’ fees, costs, and expenses incurred

                investigating and prosecuting this lawsuit.

        II.     This Court Should Enter an Order Allowing Plaintiff to Commence Discovery
                Related to Class Certification.

        Under Fed. R. Civ. P. 54(b), when an action “presents more than one claim for relief” or

when “multiple parties are involved,” an order “that adjudicates fewer than all the claims or the

rights and liabilities of fewer than all the parties does not end the action as to any of the claims or

parties.” Here, Plaintiff requests that the Court enter default judgment on behalf of the named

Plaintiff, Scott Mackey. Because this order will not resolve the claims of absent Class members,

this Court should defer entry of final judgment under Rule 54(b) and enter an order allowing

Plaintiff to commence discovery related to class certification.




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        Although PeopleConnect’s failure to answer or respond presents an unusual circumstance,

Plaintiff is aware of at least one case in this District in which the court granted default judgment

to the named Plaintiff in a putative class action after the defendant failed to answer. See Trull v.

Plaza Associates, No. 97-cv-0704, 1998 WL 578173, at *1-2 (N.D. Ill. Sep. 3, 1998) (addressing

the question of “what effect . . . a default judgment against the sole defendant [has] on the question

of class certification”). In Trull, the court followed the path Plaintiff requests here. The court

entered default judgment for the named plaintiff’s individual claims, then granted the named

plaintiff “leave to take discovery or otherwise obtain support for her motion for class certification.”

See Trull, 1998 WL 578173, at *2. A district court in Florida recently took the same approach. See

Leo IV v. ClassMoney.net, No. 18-cv-80813, 2019 WL 238548 (S.D. Fla. Jan. 10, 2019) (granting

plaintiff’s motion for “Leave to Conduct Class Certification and Damages Related Discovery”

after default judgment was entered for the named plaintiff in putative class action alleging

violations of the Telephone Consumer Protection Act). Any other conclusion would “give

defendants an incentive to default in situations where class certification seems likely.” Leider v.

Ralfe, No. 1:01-CV-3137 HB FM, 2003 WL 24571746, at *8 (S.D.N.Y. Mar. 4, 2003), report and

recommendation adopted in part, No. 01 CIV. 3137 (HB), 2003 WL 22339305 (S.D.N.Y. Oct. 10,

2003) (discussing Trull, 1998 WL578173).

         In line with this authority, Plaintiff respectfully requests the Court defer entry of final

judgment under Rule 54(b) and enter an order allowing Plaintiff to pursue discovery related to

class certification.




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                                        CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court (1) enter default

judgment in favor of Plaintiff Scott Mackey under Fed. R. Civ. P. 55; and (2) enter an order

allowing Plaintiff to proceed immediately with class certification discovery.

Dated: April 15, 2022                               Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I, Raina C. Borrelli, hereby certify that I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to counsel of

record via the ECF system.

       DATED this 15th day of April, 2022.


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